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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:20-cv-01406-WJM-NYW

   CLIFFORD TAYLOR,

          Plaintiff,

   v.

   ARMOR CORRECTIONAL HEALTH SERVICES, INC.,
   SHERIFF JUSTIN SMITH, in his individual and official capacities,
   THE BOARD OF COUNTY COMMISSIONERS FOR THE COUNTY OF LARIMER,
   CAPTAIN TIMOTHY PALMER,
   AMANDA JARMAN,
   DR. KEITH MCLAUGHLIN,
   DAYLA COOK,
   KYRA HARMON,
   LYNETTE HOISINGTON,
   ALEX MAHLOCH,
   JESSINA MORSE,
   LYNN SCHULTZ,
   LEAH OAKLEY,
   CAROLYN PEISERT,
   CHEYENNE PALMER,
   KATIE WENZEL, and
   MICHELLE WILSON,

          Defendants.

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      RESPONSE TO ARMOR DEFENDANTS’ MOTION TO DISMISS (Doc. 47) AND
                          REQUEST FOR ORAL ARGUMENT
   ______________________________________________________________________________

          Plaintiff Clifford Taylor, through his attorneys Gail K. Johnson, Aurora L. Randolph, and

   Haley M. DiRenzo of Johnson & Klein, PLLC, hereby responds to the Armor Defendants’

   Motion to Dismiss (Doc. 47) and respectfully requests oral argument.

          Mr. Taylor has pleaded that each individual Armor Defendant was deliberately

   indifferent to the serious medical need created by his worsening and festering infection over the
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   course of several months. Though the Armor Defendants attempt to argue that the surface-level

   “care” they provided Mr. Taylor meets their constitutional obligations, it does not. Mr. Taylor

   has also sufficiently pleaded the ways that Defendant Armor’s policies and practices to cut costs

   and increase profit—including by refusing Mr. Taylor the treatment he needed in favor of more

   inexpensive options and refusing to take him outside the facility for medical care so that he

   would be forced to obtain such care once he left on his own dime—caused the constitutional

   violations against him and thus meet the standard for a Monell claim. For these reasons, the

   Armor Defendants’ Motion to Dismiss (Doc. 47) should be denied.

                                     STANDARD OF REVIEW

          On reviewing a motion to dismiss, the Court must accept as true all well-pleaded factual

   allegations. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). A district court must also “construe

   [the pleaded facts] in the light most favorable to the plaintiff.” Alvarado v. KOB-TV, L.L.C., 493

   F.3d 1210, 1224 (10th Cir. 2007). The Court must then consider whether the factual allegations

   in the complaint allege a plausible claim for relief, which exists when the complaint allows the

   court to draw reasonable inferences that defendants are liable. Iqbal, 556 U.S. at 678. The

   question is not “whether a claim is ‘improbable,’ but instead whether the factual allegations

   “raise a right to relief above the speculative level.’” Kay v. Bemis, 500 F.3d 1214, 1218 (10th

   Cir. 2007) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)).

                                             ARGUMENT

   I.     Mr. Taylor sufficiently alleged constitutional violations by the individual Armor
          medical providers.

          A prison official’s deliberate indifference to an incarcerated person’s serious medical

   needs violates the Eighth Amendment. See Estelle v. Gamble, 429 U.S. 97, 102 (1976).

   “Deliberate indifference” involves both an objective and a subjective component. Farmer v.


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   Brennan, 511 U.S. 825, 834 (1994). The objective component is met if the deprivation is

   “sufficiently serious.” Id. The subjective component is met if a prison official “knows of and

   disregards an excessive risk to inmate health or safety.” Id. at 837.

           “Deliberate indifference does not require a finding of express intent to harm.” Mitchell

   v. Maynard, 80 F.3d 1433, 1442 (10th Cir. 1996). It is enough that the official acted or failed to

   act despite his knowledge of a substantial risk of serious harm. Farmer, 511 U.S. at 842. The

   Tenth Circuit has also recognized a cognizable “gatekeeper” claim for deliberate indifference

   against prison medical providers who “prevent an inmate from receiving treatment or deny him

   access to medical personnel capable of evaluating the need for treatment,” if the official knows

   “his role in a particular medical emergency is solely to serve as a gatekeeper for other medical

   personnel capable of treating the condition, and if he delays or refuses to fulfill that gatekeeper

   role due to deliberate indifference.” Sealock v. Colorado, 218 F.3d 1205, 1211 (10th Cir. 2000).1




   1
     Defendants confined Mr. Taylor as a pretrial detainee at the Larimer County Jail (LCJ) until
   May 31, 2018. (Doc. 38 at ¶ 115.) Therefore, up until May 31, 2020, the Fourteenth
   Amendment governed his right to adequate medical care while incarcerated. See Lopez v.
   LeMaster, 172 F.3d 756, 759 n.2 (10th Cir. 1999) (abrogated on other grounds by Brown v.
   Flowers, No. 19-7011, 2020 WL 5509683, at *3 (10th Cir. Sept. 14, 2020). In the excessive-
   force context, pretrial detainees are entitled to a lower standard than that applicable to convicted
   individuals. Kingsley v. Hendrickson, 576 U.S. 389, 400-02 (2015). While the Tenth Circuit has
   yet to decide whether, given Kingsley, a lower standard applies to pretrial detainees’ medical and
   conditions-of-confinement claims, other circuits have so held. See, e.g., Darnell v. Pineiro, 849
   F.3d 17, 30 (2d Cir. 2017) (“Kingsley altered the standard for deliberate indifference claims
   under the Due Process Clause”); Castro v. County of Los Angeles, 833 F.3d 1060, 1070 (9th Cir.
   2016) (noting that the Kingsley Court did not “limit its holding to ‘force’ but spoke to ‘the
   challenged governmental action’ generally). Mr. Taylor is entitled to review of his conditions of
   confinement up to May 31, 2018, under the objective Kingsley standard but proceeds to show he
   sufficiently stated claims for relief under the more stringent Eighth-Amendment standard.
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          A. The allegations support claims of deliberate indifference against each Defendant.

          Meeting the deliberate-indifference standard requires: 1) an objectively serious medical

   need; 2) knowledge of the risk of harm posed by failing to treat that medical need; and 3)

   disregard of that risk. Farmer, 511 U.S. at 834, 837.

          The Armor Defendants do not dispute that Mr. Taylor has pled an objectively serious

   medical need—presumably because it is inarguable that he has done so. See, e.g., Goines v. Hill,

   139 F.3d 911 (10th Cir. 1998) (prostate infection constitutes a serious medical need); Schaub v.

   VonWald, 638 F.3d 905, 915 (8th Cir. 2011) (“oozing sores and the smell of infection” were

   “‘more than obvious’ to a layperson” and thus constituted a serious medical need).

          Nor do the Armor Defendants dispute that Mr. Taylor has sufficiently pled they were

   subjectively aware of the risk of harm posed by failing to provide him with adequate medical

   treatment for his infection—presumably because the risk from his swollen, red, hot, oozing,

   smelly wound was obvious, and Mr. Taylor has made detailed factual allegations about the

   number of times they saw him, spoke with him about his infection, and assessed it. See, e.g.,

   Farmer, 511 U.S. at 842-43 (“Whether a prison official had the requisite knowledge of a

   substantial risk is a question of fact subject to demonstration in the usual ways, including

   inference from circumstantial evidence, and a factfinder may conclude that a prison official knew

   of a substantial risk from the very fact that the risk was obvious.”); see also Garrett v. Stratman,

   254 F.3d 946, 950 (10th Cir. 2001) (same).

          Instead, the individual Armor Defendants challenge whether Mr. Taylor has adequately

   pled that they disregarded the risk of harm to him. This Court should reject their argument that

   Mr. Taylor’s allegations reflect a simple disagreement in treatment. (Doc. 47 at 6-7.) The

   Armor medical-provider Defendants’ decisions not to treat the infection itself but merely to

   sporadically provide palliative care for the resulting symptoms—despite knowing that failure to
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   treat the infection would result in known risks of harms attendant to surgical wound infections—

   demonstrate deliberate indifference to Mr. Taylor’s serious medical need.

          “Prison officials must provide inmates with medical care that is adequate in light of the

   severity of the condition and professional norms. The receipt of some medical care does not

   automatically defeat a claim of deliberate indifference.” Perez v. Fenoglio, 792 F.3d 768, 777

   (7th Cir. 2015) (emphasis added; internal quotations and citations omitted); see also Chapman v.

   Santini, 805 F. App’x 548, 557 (10th Cir. 2020) (unpublished) (medical providers who provided

   some diabetic care but disregarded known risk of hyperglycemia by failing to provide timely

   insulin were deliberately indifferent); De’lonta v. Johnson, 708 F.3d 520, 526 (4th Cir. 2013).

   The Armor Defendants’ argument that the provision of any medical care makes them immune

   from Eighth-Amendment liability is contrary to law.

          The Armor Defendants failed to provide adequate medical treatment to Mr. Taylor in

   several ways. First, contrary to Mr. Taylor’s surgeon’s orders, and despite the Armor

   Defendants’ awareness of the serious risks attendant to wound infections (Doc. 38 at ¶¶ 124-25)

   and Mr. Taylor’s repeated complaints about the infection, see infra, no Armor Defendant

   contacted Mr. Taylor’s surgical team at Denver Health nor any outside specialist during the

   months of his ongoing and worsening infection. Second, the “treatment” provided by the Armor

   medical-provider Defendants was patently inadequate, given how the infection in Mr. Taylor’s

   arm progressively worsened. Defendants rely on the fact that they provided “medication for

   these symptoms [pain, anxiety, depression, and sleeplessness],” pain medication and Bacitracin,

   one general course of antibiotics, wound assessments or dressings, and prescribed Gatorade and

   Band Aids. (Doc. 47 at 9-16.) But medicating the mounting symptoms of Mr. Taylor’s severe

   infection did not address his serious medical need—the infection itself, which the Armor



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   Defendants disregarded the obvious risk of failing to treat. See De’lonta, 708 F.3d at 526 (“just

   because [defendants] provided [plaintiff] with some treatment consistent with the GID Standards

   of Care, it does not follow that they have necessarily provided her with constitutionally adequate

   treatment”); Arnett v. Webster, 658 F.3d 742, 751 (7th Cir. 2011) (“prisoner [does not] need to

   show that he was literally ignored”). Pursuant to Armor’s cost-saving policy, the individual

   medical-provider Defendants gave Mr. Taylor the cheapest and easiest “care” available, biding

   their time until he was released. Their refusal to escalate the medical treatment provided to him

   in the face of his ongoing and worsening surgical-wound infection constitutes deliberate

   indifference. See Chapman, 805 Fed. App’x at 557.

          The following timeline illustrates the inadequacy of the Armor Defendants’ “care”:

   Mar. 21-31:    Mr. Taylor is given basic antibiotics for 10 days (Doc. 38 at ¶¶ Signs of infection
                  65-66)                                                             “Treatment”
   April 2:       Defendant McLaughlin prescribes pain medication for arm            Miscellaneous
                  pain (¶¶ 69-70)
   April 11:      Mr. Taylor complains of ongoing pain (¶ 73)
   May 17:        Medical records show wound is swollen (¶ 81)
   May 18:        Purulent (white, milky) discharge noted (¶¶ 88-89)
   June 1:        Mr. Taylor reports ongoing pain and signs of infection (¶ 130)
   June 13:       Mr. Taylor meets with mental health staff, reports anxiety, depression, and
                  sleeplessness from infection (¶ 129)
   June 29:       Mr. Taylor reports ongoing pain and signs of infection (¶ 131)
   July 12:       Defendant Jarman reviews Mr. Taylor’s medical records, notes “chronic arm
                  issues” (¶ 139)
   July 30:       Mr. Taylor reports ongoing pain and signs of infection (¶ 146)
   August 26:     Mr. Taylor is given basic antibiotics and Bacitracin for 10 days (¶¶ 156-57)
   Aug. 28:       Defendant Cook notes “Purulent=Thick white blood cells and living or dead
                  organisms; yellow, green or brown color can suggest the type of infecting
                  organism. A pungent, strong, foul, fecal or musty odor suggests infection”
                  (¶ 168)
   Aug. 31:       Mr. Taylor reports continuing symptoms of infection (¶ 176)
   Sept. 2:       Defendant Cook notes wound was twice as large as previous day (¶ 195), notes
                  slough tissue and drainage of wound (¶¶ 192-93)
   Sept. 5:       Basic prescription of antibiotics ended (¶¶ 156-57)

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   Sept. 5:         Note in records showing slough tissue and drainage of wound; Defendant Wenzel
                    stops dressing changes, tells Mr. Taylor to use a Band Aid (¶¶ 196-98)
   Sept. 12:        Mr. Taylor reports ongoing pain and signs of infection (¶¶ 205, 207)
   Sept. 30:        Mr. Taylor reports ongoing pain and signs of infection (¶¶ 203, 207)
   Oct. 2:          Mr. Taylor complains of infection, medical records state nurse “[e]ncouraged
                    patient to use [over the counter medication] for discomfort and to notify medical
                    if symptoms worsen or persist.” (¶ 210)
   Oct. 3:          Mr. Taylor declares medical emergency from repeated vomiting from infection
                    (¶ 211); Defendant Wilson prescribes Gatorade (¶ 213)
   Oct. 7:          Mr. Taylor reports ongoing pain and signs of infection (¶ 214)
   Oct. 11:         Mr. Taylor released from Larimer County Jail (LCJ) (¶ 237)
   Oct. 16:         X-ray of Mr. Taylor’s arm shows chronic, severe infection (¶ 239)2

             Thus, the “treatment” provided by the medical-provider Defendants allowed Mr. Taylor

   to develop a severe and deep infection. The first set of antibiotics prescribed to Mr. Taylor in

   March 2018 failed to address the infection (Doc. 38 at ¶¶ 65-66, 81), and unsurprisingly, after

   Defendants had let the infection worsen for five months, another set of antibiotics also failed to

   resolve it (id. at ¶¶ 156-57, 207). Nonetheless, the individual medical-provider Defendants

   allowed Mr. Taylor’s infection to further worsen and his pain to continue for over a month after

   the completion of the second round of antibiotics, until he was released. (See id. at ¶¶ 210-12.)

   See De’lonta, 708 F.3d at 526 (“[I]magine that prison officials prescribe a painkiller to an inmate

   who has suffered a serious injury from a fall, but that the inmate’s symptoms, despite the

   medication, persist to the point that he now, by all objective measure, requires evaluation for

   surgery. Would prison officials then be free to deny him consideration for surgery, immunized

   from constitutional suit by the fact they were giving him a painkiller? We think not.”)

             Moreover, the Armor Defendants’ failure to treat Mr. Taylor between the March 2018

   and late-August 2018 antibiotics prescriptions is also deliberate indifference. Mr. Taylor

   repeatedly reported his ongoing and worsening infection (see, e.g., Doc. 38 at ¶¶ 121, 136, 147),


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       This does not include all of Mr. Taylor’s near-daily complaints. (Doc. 38; id. at ¶¶ 8, 128.)
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   and Defendants made repeated notations about the condition in his file (id. at ¶¶ 88-89, 129).

   Defendant McLaughlin’s decision to merely give Mr. Taylor basic antibiotics again, after they

   had not worked and after five months of worsening infection, was deliberately indifferent. See

   Arnett, 658 F.3d at 754 (“[A] medical professional’s actions may reflect deliberate indifference if

   he ‘chooses an easier and less efficacious treatment without exercising professional judgment.’

   A prison physician cannot simply continue with a course of treatment that he knows is

   ineffective in treating the inmate’s condition.”) (internal citations omitted).

          Additionally, all the individual medical-provider Defendants can be liable under the

   “gatekeeper” theory outlined in Sealock, 218 F.3d at 1211. The wound assessments, basic

   antibiotics, pain medication, Gatorade, and Band Aids were facially ineffective at addressing Mr.

   Taylor’s infection. (See, e.g., Doc. 38 at ¶¶ 73, 81, 130, 168, 195, 196, 207, 210, 213.) Mr.

   Taylor was locked up and at the mercy of the medical-provider Defendants to ensure his surgical

   wound would not get infected and cause him to potentially require an amputation of his forearm.

   (Id. at ¶¶ 151-52.) They knew that his surgical team needed to be made aware of his infection to

   monitor the hardware that was implanted and to avoid further damage. (Id. at ¶¶ 42, 124-25.)

   But the medical-provider Defendants refused to consult those specialists or any others to see

   what else could be done to provide medical care for a severely infected wound from a complex

   surgery. (Id. at ¶¶ 137, 148, 189, 208, 221.) They were the gatekeepers for “other medical

   personnel capable of treating the condition,” and their “delays or refus[als] to fulfill that

   gatekeeper role due to deliberate indifference,” makes them also “liable for deliberate

   indifference from denying access to medical care.” Sealock, 218 F.3d at 1211.

          B. Allegations against the Armor medical-provider Defendants are also sufficient.

          The Amended Complaint pleads that all of the Armor medical-provider Defendants knew

   that a wound that is 1) red with a scab, 2) excreting discharge, 3) causing prolonged pain or
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   discomfort, or 4) swollen or hot is a concerning sign of infection given their field and experience.

   (Id. at ¶ 122.) The Amended Complaint also pleads that the medical-provider Defendants knew

   that nausea, fever, chills, weight loss, and sleeplessness—when coupled with indications of pain,

   redness, swelling, discharge, and heat at the site of a wound—are signs of a severe infection (id.

   at ¶ 123) and that patients who have recently undergone significant surgery, like Mr. Taylor,

   need to have their surgical wounds and implants closely monitored and cared for to ensure

   proper healing and to avoid infection, and need to follow up with their specialists to ensure

   proper healing and success of the surgery. (Id. at ¶¶ 124-25.)

          Mr. Taylor was supposed to see his surgical team at Denver Health every few months to

   monitor his healing and implanted hardware, and was instructed to see them if he had any signs

   of infection. (Id. at ¶ 42.) At his last x-ray before he was incarcerated, Mr. Taylor’s arm showed

   no indications of infection or osteomyelitis. (Id. at ¶ 55.) Mr. Taylor endured significant pain

   that worsened from April 2018 (id. at ¶ 69) to October 2018 (id. at ¶ 220) due to his untreated

   infection. As soon as he was released from the LCJ and able to obtain adequate medical care, he

   was diagnosed with osteomyelitis at multiple sites in his forearm. (Id. at ¶¶ 237-38, 243.) To

   address the osteomyelitis, Mr. Taylor has been forced to undergo repeated surgery of his

   forearm, which has resulted in years of unnecessary pain and suffering, diminished capacity in

   his arm, and major deformity, among other injuries. (Id. at ¶¶ 252, 256.)

          Additional allegations specific to each individual medical-provider Defendant include:

          Defendant Jarman: Defendant Jarman is the Health Services Administrator and a medical

   provider working in the LCJ for Armor. (Doc. 38 at ¶ 21.) She was aware of Mr. Taylor’s

   surgery and wound by August 9, 2017. (Id. at ¶¶ 45-46.) When she delivered Mr. Taylor his

   medication in August of 2018, Mr. Taylor complained about the worsening condition of his arm.



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   (Id. at ¶¶ 181, 188.) But Defendant Jarman did not contact Mr. Taylor’s surgical team at Denver

   Health, request his medical record from Denver Health, or consult any outside medical specialist

   regarding Mr. Taylor’s worsening condition. (Id. at ¶ 189-90.) Defendant Jarman oversaw all

   medical staff at LCJ but failed to ensure that Mr. Taylor’s prolonged, worsening condition was

   addressed. (Id. at ¶ 224.) Despite knowing about Mr. Taylor’s worsening infection and the

   attendant risks of harm from inaction, Defendant Jarman did nothing to ensure proper medical

   treatment, evincing deliberate indifference. See Oxendine v. Kaplan, 241 F.3d 1272, 1279 (10th

   Cir. 2001); Mata, 427 F.3d at 758; Sealock, 218 F.3d at 1211; De’lonta, 708 F.3d at 526.

          Defendant McLaughlin: Defendant McLaughlin was the doctor at LCJ. (Doc. 38 at ¶ 22.)

   He was made aware of Mr. Taylor’s surgery and wound as early as August 8, 2017. (Id. at ¶ 50.)

   On April 2, 2018, Defendant McLaughlin saw Mr. Taylor regarding pain from his wound, but he

   merely prescribed Mr. Taylor pain medication and did not contact anyone at Denver Health nor

   an outside specialist about the proper course of treatment for Mr. Taylor’s post-surgical wound

   care—even though he knew that a course of antibiotics had just failed to alleviate Mr. Taylor’s

   infection. (Id. at ¶¶ 66, 69-70.) Despite the fact that Mr. Taylor’s wound was noted as a

   chronic-care condition warranting regular consultation, Defendant McLaughlin did not see him

   for months. (Id. at ¶¶ 58, 155 (describing a phone call, not an appointment, regarding Mr.

   Taylor’s condition).) On August 26, 2018, Defendant McLaughlin spoke with other staff about

   Mr. Taylor’s worsening condition, and merely ordered one course of general antibiotics—even

   though he knew that the antibiotics previously ordered for Mr. Taylor had not resolved the

   infection, and the infection had dramatically worsened over the months. (Id. at ¶¶ 66, 155-56.)

   Defendant McLaughlin did not contact Denver Health nor any other medical professional to

   report Mr. Taylor’s condition or receive guidance on the proper treatment for the long-term



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   infection of a wound from a complicated surgery, even after it became clear that the second

   course of antibiotics had not resolved the infection. (Id. at ¶ 158.) Defendant McLaughlin’s

   failure to adequately address Mr. Taylor’s serious medical need for months sufficiently states

   deliberate indifference at this stage. See Oxendine, 241 F.3d at 1279; Mata, 427 F.3d at 758;

   Sealock, 218 F.3d at 1211; De’lonta, 708 F.3d at 526.

          Defendant Cook: Defendant Cook was a medical provider working for Defendant Armor

   in the LCJ. (Doc. 38 at ¶ 23.) She saw Mr. Taylor on: June 4 and 27, 2018; July 23, 30, and 31,

   2018; August 21, 27, and 28, 2018; September 2, 3, 4, and 16, 2018; and October 8, 2018. (Id. at

   ¶¶ 133, 136, 146-47, 162, 166-68, 187-88, 192-93, 201, 219-20.) On these occasions, Mr. Taylor

   complained to her about his arm’s worsening pain, discharge, and need for treatment. (Id. at

   ¶¶ 133, 136, 147, 166-68, 188, 192-93, 201, 219-20.) On August 28, 2018, Defendant Cook

   twice noted in Mr. Taylor’s medical record that his symptoms indicated infection, stating she

   noticed a potential “type of infecting organism” and an “odor suggest[ing] infection.” (Id. at

   ¶¶ 166-68.) She noted drainage from the wound in early September. (Id. at ¶¶ 192-93.) But

   despite all this, she did not do anything to alleviate the infection, seek guidance from an outside

   specialist or contact Mr. Taylor’s surgical team at Denver Health, or even request records from

   Denver Health. (Id. at ¶¶ 137-38, 148, 169, 208, 221.) And Defendant Cook falsely wrote that

   Mr. Taylor thought a Band-Aid was sufficient for his oozing wound and did not want a dressing

   change. (Id. at ¶¶ 163-64.) Despite the fact that Defendant Cook was aware that a second round

   of antibiotics had failed to address the infection and Mr. Taylor’s severe symptoms persisted, she

   still did not seek any emergency medical intervention, or contact any outside medical specialist

   or Mr. Taylor’s surgical team regarding his severe infection. (Id. at ¶¶ 156, 208, 236.) From

   May to October 2018, Defendant Cook saw Mr. Taylor at least 18 times, and on each such



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   occasion, she observed that Mr. Taylor’s wound was becoming increasingly infected but did

   nothing to adequately treat the infection. (Id. at 225.) This sufficiently alleges deliberate

   indifference at this stage. See Oxendine, 241 F.3d at 1279; Mata, 427 F.3d at 758; Sealock, 218

   F.3d at 1211; De’lonta, 708 F.3d at 526.

          Defendant Harmon: Defendant Harmon was a medical provider working for Defendant

   Armor in the LCJ. (Doc. 38 at ¶ 24.) She was aware of Mr. Taylor’s arm wound in March 2018.

   (Id. at ¶ 68.) She saw Mr. Taylor on: July 11 and 12, 2018; August 9-10, 17, 22, 26, 29, and 31,

   2018; September 12, 2018; and October 7 and 10, 2018. (Id. at ¶¶ 144, 184, 205, 217.) On these

   occasions, Mr. Taylor told Defendant Harmon his wound was painful and had discharge and that

   he was experiencing weight loss, fever, and nausea that he thought were associated with his

   infection, and he asked to see a medical professional or his Denver Health team to address the

   infection. (Id. at ¶¶ 147, 188, 207, 220.) On August 26, 2018, when Defendant Harmon saw Mr.

   Taylor regarding his wound, she noted the several signs of infection and the history of problems

   with the arm, and she finally called Defendant McLaughlin to report the worsening wound and

   purulent drainage. (Id. at ¶¶ 154-55.) But Defendant Harmon did nothing to treat the underlying

   infection; she did not seek any outside or specialist care or guidance on the proper treatment for

   the long-term infection of a wound from a complicated surgery for Mr. Taylor, nor did she obtain

   his medical records from Denver Health—despite the fact that she was aware that the second

   round of antibiotics had not resolved the infection and Mr. Taylor’s severe symptoms persisted.

   (Id. at ¶¶ 148-49, 156, 158, 208, 220-21, 236.) From May-October 2018, Defendant Harmon

   saw Mr. Taylor on at least 13 occasions, and despite the fact that she observed Mr. Taylor’s arm

   was becoming increasingly infected, she did nothing to adequately treat the infection. (Id. at




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   ¶ 226.) This sufficiently evinces deliberate indifference. See Oxendine, 241 F.3d at 1279; Mata,

   427 F.3d at 758; Sealock, 218 F.3d at 1211; De’lonta, 708 F.3d at 526.

          Defendant Hoisington: Defendant Hoisington was a medical provider working for

   Defendant Armor in the LCJ. (Doc. 38 at ¶ 25.) She saw Mr. Taylor on: June 10, 17, 19, 24,

   and 26, 2018; July 1, 3, 8, 10, 16, 21, and 28, 2018; August 2, 4, 6, 13, and 24, 2018; September

   1, 3, 7, 9, 25, and 30, 2018; and October 6, 2018. (Id. at ¶¶ 134, 142, 180, 191, 203, 216.) On

   each of these occasions, Mr. Taylor complained that his wound was painful, hot, swelling, and

   excreting discharge, and asked to see a medical professional. (Id. at ¶¶ 136, 147, 188, 207, 220.)

   Defendant Hoisington did not contact any outside medical specialist or his surgical team at

   Denver Health, nor did she even request Mr. Taylor’s medical records from Denver Health. (Id.

   at ¶¶ 137-38, 148-49, 189, 221.) Even after Defendant Hoisington was aware that a second

   round of antibiotics had failed to resolve the infection and that Mr. Taylor’s severe symptoms

   persisted, she still did not seek any emergency medical intervention or contact any outside

   medical specialist or Mr. Taylor’s surgical team regarding his severe infection. (Id. at ¶¶ 191,

   208, 236.) Such allegations sufficiently state a claim of deliberate indifference. See Oxendine,

   241 F.3d at 1279; Mata, 427 F.3d at 758; Sealock, 218 F.3d at 1211; De’lonta, 708 F.3d at 526.

          Defendant Mahloch: Defendant Mahloch was a medical provider working for Defendant

   Armor in the LCJ. (Doc. 38 at ¶ 26.) She saw Mr. Taylor on May 17, 20, 24, and 29, 2018; June

   1, 2, and 18, 2018; July 2 and 9-10, 2018; August 7, 19, 27 and 29, 2018; and September 27 and

   29, 2018. (Id. at ¶¶ 119, 130, 140, 183, 206.) On each of these occasions, Mr. Taylor

   complained to Defendant Mahloch about the worsening pain from his arm, the discharge it was

   excreting, his need for treatment and to see a specialist who could address the infection. (Id. at

   ¶¶ 121, 126-27, 136, 147, 188, 207.) Despite clear signs of infection, she did not provide



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   medical treatment, contact Mr. Taylor’s surgical team or any outside specialist regarding his

   developing infection, nor did she even request his Denver Health medical record. (Id. at ¶¶ 80-

   83, 98-99, 126-27, 137-38, 148-49, 189.) Even though Defendant Mahloch was aware that a

   second round of antibiotics had failed to resolve the infection and Mr. Taylor’s severe symptoms

   persisted, she still did not seek any emergency medical intervention or contact any outside

   medical specialist or Mr. Taylor’s surgical team regarding his severe infection. (Id. at ¶¶ 156,

   208, 236.) This evinces deliberate indifference. See Oxendine, 241 F.3d at 1279; Mata, 427

   F.3d at 758; Sealock, 218 F.3d at 1211; De’lonta, 708 F.3d at 526.

          Defendant Morse: Defendant Morse was a medical provider working for Defendant

   Armor in the LCJ. (Doc. 38 at ¶ 27.) She saw Mr. Taylor on May 2-3, 12, 16-18, 24-27, and 30,

   2018; June 1, 13-16, 18-19, 21-23, 25, 27, and 29, 2018; July 2, 7, 8, 11, 12, and 26, 2018;

   August 31, 2018; and September 1, 3-4, 11-12, 16, 19-21, and 26, 2018; (Id. at ¶¶ 88, 107, 116,

   131, 141, 178, 200.) On each of these occasions, Mr. Taylor told Defendant Morse about the

   pain from his wound, that it had discharge coming out of it, that he needed to see a medical

   professional to address the infection or see his Denver Health team to address the ongoing

   infection, and eventually that he was experiencing weight loss, fever, and nausea he thought

   were associated with his infection. (Id. at ¶¶ 88, 109, 121, 136, 141, 147, 178, 207.) On May 18,

   2018, Defendant Morse noted that Mr. Taylor’s wound was excreting a purulent discharge, but

   did not provide Mr. Taylor any medical treatment, merely advising him to keep the area clean.

   (Id. at ¶¶ 88, 91.) Defendant Morse provided no medical treatment to Mr. Taylor, nor did she

   seek guidance from an outside specialist. Even though Defendant Morse knew that a second

   round of antibiotics had failed to resolve the infection and Mr. Taylor’s severe symptoms

   persisted, she did not seek any emergency medical intervention or contact any outside medical



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   specialist or Mr. Taylor’s surgical team. (Id. at ¶¶ 156, 208, 236.) These allegations adequately

   allege deliberate indifference at this stage of the case. See Oxendine, 241 F.3d at 1279; Mata,

   427 F.3d at 758; Sealock, 218 F.3d at 1211; De’lonta, 708 F.3d at 526.

          Defendant Schultz: Defendant Schultz was a medical provider working for Defendant

   Armor in the LCJ. (Doc. 38 at ¶ 28.) On March 11, 2018, Defendant Schultz noted Mr. Taylor’s

   surgery and wound in his medical records and flagged his wound as a chronic-care condition.

   (Id. at ¶ 58.) Defendant Schultz saw Mr. Taylor on May 15 and 21, 2018; July 6, 16, and 30,

   2018; August 19, 2018; and September 10, 2018. (Id. at ¶¶ 74, 120, 143, 186, 204.) On each

   occasion, Mr. Taylor told Defendant Schultz that his wound was seeping discharge, was not

   getting any better, was hot and painful, and eventually that he was experiencing weight loss,

   fever, and nausea he thought were associated with his infection; he also asked Defendant Schultz

   to treat the infection or contact his Denver Health surgical team. (Id. at ¶¶ 74-76, 121, 147, 188,

   207.) Defendant Schultz provided no medical treatment to Mr. Taylor, nor did she contact any

   other medical provider, nor request his Denver Health medical records; instead, she just told Mr.

   Taylor to come back when signs of infection appear. (Id. at ¶¶ 74-76, 120-21, 148-49, 189.)

   Even though Defendant Schultz was aware that a second round of antibiotics had failed to

   resolve the infection and Mr. Taylor’s severe symptoms persisted, she did not seek any

   emergency medical intervention or contact any outside medical specialist or Mr. Taylor’s

   surgical team regarding his severe infection. (Id. at ¶¶ 156, 208, 236.) Months of inaction in the

   face of such worsening symptoms constitutes deliberate indifference. See Oxendine, 241 F.3d at

   1279; Mata, 427 F.3d at 758; Sealock, 218 F.3d at 1211; De’lonta, 708 F.3d at 526.

          Defendant Oakley: Defendant Oakley was an Armor medical provider working in the

   LCJ. (Doc. 38 at ¶ 29.) She saw Mr. Taylor on: August 18, and 25-27, 2018; September 2, 9,



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   13, and 23, 2018; and October 7 and 9, 2018. (Id. at ¶¶ 159, 202, 214.) On each occasion, Mr.

   Taylor told Defendant Oakley about the condition of his arm, the severe pain he was

   experiencing, the discharge oozing from his wound, and eventually about his fever and nausea

   and the fact that his infection was making him vomit and unable to eat; he also asked her for

   medical attention and to contact his surgical team. (Id. at ¶¶ 159, 185, 188, 207, 218.) But

   Defendant Oakley provided no medical treatment to Mr. Taylor, nor did she contact any other

   medical provider, nor request his Denver Health medical records. (Id. at ¶¶ 161, 189-90, 207-

   08, 215, 221.) Instead, she falsely documented there was no drainage from the wound and that

   Mr. Taylor had refused wound care. (Id. at ¶ 160.) Even though she knew that a second round

   of antibiotics had failed to address Mr. Taylor’s infection and that his severe symptoms persisted,

   Defendant Oakley did not seek any emergency medical intervention nor contact any outside

   medical specialist nor Mr. Taylor’s surgical team. (Id. at ¶¶ 156, 208, 236.) These allegations

   sufficiently state deliberate indifference at this stage. See Oxendine, 241 F.3d at 1279; Mata,

   427 F.3d at 758; Sealock, 218 F.3d at 1211; De’lonta, 708 F.3d at 526.

          Defendant Peisert: Defendant Peisert was a medical provider working for Defendant

   Armor in the LCJ. (Doc. 38 at ¶ 30.) Defendant Peisert saw Mr. Taylor on: May 9, 12, 16, 18,

   19, 23, 25, and 30, 2018. (Id. at ¶¶ 92, 118.) On each occasion, Mr. Taylor told Defendant

   Oakley about the condition of his arm, the severe pain he was experiencing, the discharge oozing

   from his wound, and eventually his fever and nausea, the fact that his infection was making him

   vomit and unable to eat. He requested medical attention and for her to contact his surgical team.

   (Id. at ¶¶ 93, 121.) Defendant Peisert provided no medical treatment and did not contact any

   other medical provider for guidance on treatment, nor did she even request medical records from

   Denver Health. (Id. at ¶¶ 87, 95, 126-27.) On May 18 and 19, 2018, Defendant Peisert falsely



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   recorded that there were no signs of infection including discharge, despite other records from the

   same day reflecting obvious purulent discharge. (Id. at ¶¶ 86, 94; compare ¶ 88.) Even though

   Defendant Peisert knew that a second round of antibiotics had failed to resolve the infection and

   Mr. Taylor’s severe symptoms persisted, she still did not seek any emergency medical

   intervention or contact any outside medical specialist or Mr. Taylor’s surgical team regarding his

   severe infection. (Id. at ¶¶ 156, 208, 236.) Such repeated inaction in the face of a worsening

   medical crisis constitutes deliberate indifference. See Oxendine, 241 F.3d at 1279; Mata, 427

   F.3d at 758; Sealock, 218 F.3d at 1211; De’lonta, 708 F.3d at 526.

          Defendant Cheyenne Palmer: Defendant Palmer was a medical provider working for

   Defendant Armor in the LCJ. (Doc. 38 at ¶ 31.) She saw Mr. Taylor on May 2, 14, 16, 21-23,

   and 27-29, 2018; June 5, 2018; July 18, 22, 24-25, and 29, 2018; and August 5, 7-8, 12, and 14,

   2018. (Id. at ¶¶ 77-78, 100-06, 111, 117, 135, 145, 182.) On each occasion, Mr. Taylor told her

   about the pain from his wound, that it had discharge coming out of it, that he needed to see a

   medical professional to address the infection or see his Denver Health team to address the

   ongoing infection, and eventually that he was experiencing weight loss, fever, and nausea he

   thought were associated with his infection. (Id. at ¶¶ 78, 100-06, 112, 136, 147, 188.) Defendant

   Palmer provided no medical treatment, did not seek guidance from an outside specialist or

   contact Mr. Taylor’s surgical team at Denver Health, or even request records from Denver

   Health. (Id. at ¶¶ 79, 103, 106, 113, 126, 137-38, 148-49, 189.) This evinces deliberate

   indifference. See Oxendine, 241 F.3d at 1279; Mata, 427 F.3d at 758; Sealock, 218 F.3d at 1211;

   De’lonta, 708 F.3d at 526.

          Defendant Wenzel: Defendant Wenzel was a medical provider working for Defendant

   Armor in the LCJ. (Doc. 38 at ¶ 32.) She was aware of Mr. Taylor’s arm wound as early as



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   September 2017, when she noted the wound and the “importance of follow up with specialist”

   and wrote “[i]f he is not bonded out, would like to try to have the patient seen while incarcerated

   for follow up with [his outside specialist].” (Id. at ¶ 57.) Defendant Wenzel saw Mr. Taylor on:

   March 21, 2018; April 11 and 20, 2018; and August 31, 2018; and reviewed his medical records

   on August 28, 2018. (Id. at ¶¶ 67, 73, 170.) In August, Defendant Wenzel reviewed Mr.

   Taylor’s records and noted that he had an open wound with drainage that should be covered if he

   was to continue to work in the kitchen. (Id. at ¶ 170.) But Defendant Wenzel did not contact

   Denver Health nor put in a request for Mr. Taylor to see a medical specialist for his worsening

   condition; instead, Defendant Wenzel did nothing to provide Mr. Taylor with medical care. (Id.

   at ¶ 171.) On August 31, 2018, even after speaking with him about the continuing pain despite

   antibiotics, again Defendant Wenzel did nothing; she did not contact any specialist or other

   provider regarding Mr. Taylor’s worsening condition. (Id. at ¶¶ 176-77.)

          On September 5, 2018, despite the fact that Mr. Taylor’s wound was still open,

   discharging, hot, swollen, and tender (id. at ¶¶ 196, 199), Defendant Wenzel stopped the order

   for Mr. Taylor to receive dressing changes and told Mr. Taylor to cover the wound with a Band

   Aid. (Id. at ¶¶ 197-98.) Defendant Wenzel did not contact Denver Health nor seek any other

   urgent medical care for Mr. Taylor’s infection. (Id. at ¶ 199.) Her months of inaction—when

   she reportedly knew he needed to see a specialist as early as 2017—and the infection only

   worsened more than sufficiently alleges deliberate indifference at this stage. See Oxendine, 241

   F.3d at 1279; Mata, 427 F.3d at 758; Sealock, 218 F.3d at 1211; De’lonta, 708 F.3d at 526.

          Defendant Wilson: Defendant Wilson was a medical provider working for Defendant

   Armor in the LCJ. (Doc. 38 at ¶ 33.) On October 3, 2018, she saw Mr. Taylor when he declared

   a medical emergency because he had been vomiting throughout the night and unable to sleep.



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   (Id. at ¶¶ 211-12.) Mr. Taylor told Defendant Wilson his wound was infected, hot, discharging,

   and painful, and further reported he had been vomiting for several days, had been unable to eat

   for several days, was experiencing fever/chills, and was having episodes of diarrhea. (Id. at

   ¶ 212.) Given her review of Mr. Taylor’s medical record, Defendant Wilson knew about Mr.

   Taylor’s wound and long history of symptoms of infection—including that two rounds of

   antibiotics had not worked. (Id. at ¶ 156, 208, 236.) She knew that nausea, fever, chills, weight

   loss, and sleeplessness—when coupled with indications of pain, redness, swelling, discharge, and

   heat at the wound site—are signs of a severe infection. (Id. at ¶ 123.) Nonetheless, she did not

   seek any outside care for Mr. Taylor nor provide any other care herself for Mr. Taylor’s serious

   and worsening infection, and she did not contact Denver Health. (Id. at ¶ 213.) Instead,

   Defendant Wilson excused Mr. Taylor from his work with food in the kitchen for one day and

   added Gatorade to his medication list. (Id.) Defendant Wilson was aware Mr. Taylor was

   exhibiting myriad symptoms of severe infection yet did nothing to adequately treat it. (Id. at

   ¶ 235.) This sufficiently alleges deliberate indifference. See Oxendine, 241 F.3d at 1279; Mata,

   427 F.3d at 758; Sealock, 218 F.3d at 1211; De’lonta, 708 F.3d at 526.

          For these reasons, Mr. Taylor has adequately pleaded claims against all of the individual

   Armor Defendants. Therefore, the Court should deny this part of the Motion to Dismiss.

   II.    Mr. Taylor has sufficiently plead a Monell claim against Defendant Armor.

          Mr. Taylor may hold Defendant Armor liable under the municipal liability theory laid out

   in Monell v. Department of Social Services, 436 U.S. 658 (1978), by demonstrating that Armor

   has a policy, custom, or practice that caused or contributed to a constitutional violation against

   him. See, e.g., Gonzales v. Salt Lake Cty., 768 F.2d 303, 307 (10th Cir. 1985); Dubbs v. Head

   Start, Inc., 336 F.3d 1194, 1216 (10th Cir. 2003) (extending the Monell theory of liability to

   private entities). Absent an official policy, a party may demonstrate liability through a
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   widespread practice that is so permanent and well-settled as to constitute a custom or the failure

   to adequately train or supervise its employees if that failure results from deliberate indifference.

   Bryson v. City of Oklahoma, 627 F.3d 784, 788 (10th Cir. 2010). A party establishes causation

   when the challenged practice is “closely related” to the plaintiff’s constitutional violation or the

   “moving force” behind the injury. Board of Cty. Com’rs v. Brown, 520 U.S. 397, 404 (1997).

          The Tenth Circuit has indicated that a widespread practice amounting to a custom for the

   purposes of Monell liability exists when the plaintiff puts forth evidence that the practice has

   been in place for a significant period of time or that other individuals have experienced similar

   conduct. See e.g., Cannon v. City and Cty. of Denver, 998 F.2d 867, 877-78 (10th Cir. 1993)

   (finding evidence from which jurors could reasonably infer the existence of a policy or custom

   when plaintiff presented similar accounts by other individuals); Watson v. City of Kansas City,

   857 F.2d 690, 696 (10th Cir. 1988) (finding arrest statistics and other evidence sufficient to avoid

   summary judgment on municipal-liability claim). The Supreme Court has held that failure to

   train or supervise may serve as the basis for Section 1983 liability of counties when the failure

   “amounts to deliberate indifference.” City of Canton v. Harris, 489 U.S. 378, 389 (1989). This

   happens when the need for training and supervision is so obvious and the inadequacy so likely to

   result in constitutional violations that the policymakers can reasonably be said to have been

   deliberately indifferent. Id. at 390.

          A. Mr. Taylor has pleaded an underlying constitutional violation.

          Defendants argue that Mr. Taylor cannot establish a Monell claim in the absence of any

   underlying constitutional violation, and that none exists here. (Doc. 47 at 4-17.) But as

   discussed, supra section I, an underlying constitutional violation has been adequately pled.

          To the extent Defendants argue that Mr. Taylor must prove individual liability to

   establish a Monell claim, the Tenth Circuit has held that this is not required:
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                  [M]unicipal liability under Monell may exist without individual
                  liability. Garcia v. Salt Lake Cty., 768 F.2d 303, 310 (10th Cir.
                  1985) (“Monell does not require that a jury find an individual
                  defendant liable before it can find a local governmental body
                  liable.”). Indeed, we concluded in Garcia that even where ‘the acts
                  or omissions of no one employee may violate an individual's
                  constitutional rights, the combined acts or omissions of several
                  employees acting under a governmental policy or custom may
                  violate an individual's constitutional rights.’ Id.

   Quintana v. Santa Fe County Board of Comm’rs, No. 19-2039, 2020WL5087899, at *7 (10th

   Cir. 2020) (emphasis added); see also Todaro v. Ward, 565 F.2d 48, 52 (2d Cir. 1977) (“While a

   single instance of medical care denied or delayed, viewed in isolation, may appear to be the

   product of mere negligence, repeated examples of such treatment bespeak a deliberate

   indifference by prison authorities to the agony engendered by haphazard and ill-conceived

   procedures.”). Regardless of whether this Court agrees that Mr. Taylor has plead a constitutional

   violation against one individual defendant, his Amended Complaint is sufficient to meet the

   Monell test because the isolated instances of each individual Defendants’ denial of medical care

   also constitute deliberate indifference when considered together.

          B. Mr. Taylor has pleaded a Monell claim.

          1. Armor has an official policy of delaying and denying care for financial purposes.

          Mr. Taylor’s Amended Complaint details how the contract between Larimer County and

   Armor incentivizes cost-saving instead of proper medical treatment. The Amended Complaint

   discusses several in-depth descriptions of the price of various line items and how these

   disincentivize providing expensive but necessary medical care to LCJ prisoners, such as offsite

   medical care. The Amended Complaint also alleges that when Mr. Taylor was incarcerated at

   the LCJ, Larimer County and Armor spent $1.26 per prisoner per day, and how this number is

   much less than what other facilities spend. (Doc. 38 at ¶¶ 340-87.) The contract also makes

   clear that even though both entities had a significant financial interest in avoiding offsite medical

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   care, Armor would be responsible for any offsite costs that Larimer County did not reimburse.

   (Id. at ¶¶ 349-68.) This evidences a policy for Monell purposes. See McGill v. Correctional

   Healthcare Companies, Inc., 2014 WL 2922635, at *8 (D. Colo. June 27, 2014) (finding the

   plaintiff’s allegations that “Jefferson County defendants have created financial incentives that

   discourage appropriate hospitalization of inmates as well as sanctions for instances of improper

   care” based on statements in the county’s contract supported a Monell claim against the county).3

          This policy is “closely related” to the conduct that led to Mr. Taylor’s rights being

   violated because he was denied outpatient medical care and more intensive treatment for his

   worsening infected wound, including proper medication and treatments, which are expensive and

   which Defendant Armor had an incentive not to provide to increase profit and save Larimer

   County costs, increasing the likelihood that that Defendant Armor would secure additional

   multimillion dollar contracts from Larimer County in the future. See Brown, 520 U.S. at 404;

   (Doc. 38 at ¶¶ 121-235, 258-68, 339-68, 382-87.) Instead, Armor medical providers opted for

   cheap treatments such as prescribing Mr. Taylor the same course of antibiotics that had already

   failed to work and providing him with an over-the-counter ointment intended to treat minor cuts

   and scrapes (Bacitracin), Gatorade, and Band-aids. (Id. at ¶¶ 156-57, 163, 199, 214.)

              2. Armor’s longstanding history of delaying and denying care for financial gain
                 evidences a widespread practice.

          Mr. Taylor’s Amended Complaint also discusses Defendant Armor’s longstanding

   history of prioritizing profit and cost-saving over the health and safety of people who are



   3
     Sherman v. Klenke, 653 Fed. App’x 580, 592 (10th Cir. 2016) (unpublished), which Defendant
   Armor relies on (Doc. 47 at 7), is easily distinguished because the cost-saving allegations there
   were bare and conclusory. Mr. Taylor makes detailed allegations that Armor prioritizes profit at
   the expense of adequate prisoner health care by discussing the contract, making comparisons to
   costs at comparable facilitates, and giving examples of several prisoners who have been denied
   needed medical care under this profit-focused practice. (Doc. 38 at ¶¶ 340-87, 390-96.)
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   incarcerated, including dozens of instances of individuals dying or becoming severely injured

   under Armor’s care. (Id. at ¶¶ 269-329, 390-96.) Several of these instances were very similar to

   Mr. Taylor’s experience in that they involved Armor professionals who failed to identify obvious

   signs of illness or infection and failed to provide standard care. (Id. at ¶¶ 290-95, 308, 329.) For

   example, Armor medical staff have repeatedly failed to treat clear symptoms of an obvious

   medical problem such as withdrawal, mental illness, and bowel obstruction. (Id. at ¶¶ 279, 289-

   294.) Armor has a longstanding practice of cutting corners regarding offsite medical-care costs

   in particular. Armor medical staff have repeatedly refused to take individuals outside of a

   facility to receive care despite symptoms of serious medical problems like signs of a stroke,

   severe weight loss, and lost feeling in limbs and body. (Id. at ¶¶ 273, 275, 277, 281, 284.) And

   in its proposal to Larimer County, Defendant Armor detailed its history of keeping offsite

   medical costs low by ensuring that only 50% of its patients brought to the hospital are admitted,

   and those who are admitted are returned to the facility as soon as possible. (Id. at ¶¶ 353-68.)

          The Amended Complaint also discusses Larimer County’s understaffing in their

   “severe[ly] overcrowd[]” jail. (Id. at ¶¶ 375-81.) During the entire time Mr. Taylor was

   incarcerated at the LCJ, there was only one Armor doctor available for eight hours a week for the

   entire facility of hundreds of prisoners. (Id. at ¶¶ 374, 378.) Additionally, there were never

   more than nine or ten medical staff onsite during weekdays, and on weekends, there were no

   more than three medical staff available. (Id. at ¶ 381.) Obviously, Armor saved money by

   employing fewer staff, one of the biggest expenses in providing healthcare in jails. (Id. at ¶ 369.)

          Other prisoners at LCJ have also experienced denial of necessary medical care by Armor.

   In 2018 at the LCJ, Armor refused to provide Tom Grell with adequate medical and dental care

   to address his seriously infected tooth. (Id. at ¶ 390.) For nine months, Mr. Grell repeatedly



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   asked Armor medical staff and jail deputies to see a dentist for severe pain in his tooth, mouth,

   and throat. (Id.) When Mr. Grell told the Armor nurses who came to his unit during medication

   line that he was suffering and needed to see a dentist, Armor nurses repeatedly attempted to shift

   responsibility for Mr. Grell’s care on others, without ever doing anything themselves. (Id. at

   ¶ 391.) During the nine months Mr. Grell was at the LCJ, he never once saw a dentist or a doctor

   for his pain. (Id. at ¶ 393.) After his release, when he was finally able to visit a dentist, that

   dentist told him that he had such a severe infection that he needed to see an oral surgeon to have

   several teeth pulled. (Id. at ¶ 394.) Austin Klen encountered similar roadblocks when trying to

   obtain care from Armor at the LCJ. After injuring his shoulder, he never received any care or

   treatment, despite notifying Armor medical staff about his injury. (Id. at ¶ 395.)

          It is reasonable to infer, as is proper at this stage of the case, see Iqbal, 556 U.S. at 678,

   681, that these practices contributed to Mr. Taylor’s situation, which included, in part, him being

   “unable to see the doctor as frequently or as quickly as he needed to,” despite that he was flagged

   as a chronic-care patient, and being unable to obtain the medical care he needed, including a

   referral for outside treatment, due to cost concerns, overcrowding, and understaffing. See

   Brown, 520 U.S. at 404. (Doc. 38 at ¶¶ 58, 139, 155, 379.)

              3. Armor failed to train and supervise its staff despite the likelihood of problems and
                 knowledge of actual problems.

          Armor also failed to properly train or supervise its medical employees on how to properly

   treat a serious wound infection, provide chronic care, and seek specialist guidance for conditions

   they were unable to treat. This is apparent given that Mr. Taylor exhibited obvious signs of

   infection, including swelling, redness, and pus around his wound; fever; loss of appetite;

   excessive weight loss; and nausea, but no Armor medical provider treated him for the serious

   infection that these symptoms obviously demonstrated he had, and instead, they merely offered

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   him Gatorade and Band-aids. (Id. at ¶¶ 402-40.) Additionally, the Amended Complaint

   discusses a National Commission on Correctional Health Care (NCCHC) audit that found

   significant deficiencies in LCJ’s medical system during the time Armor provided medical care

   there (id. at ¶¶ 414-24), which included: (i) LCJ’s failure to comply with an “Essential Standard”

   regarding Infirmary-Level Care, which Mr. Taylor likely required for his wound and worsening

   infection (id. at ¶¶ 416-17); and (ii) LCJ inappropriately treated wounds and administered

   antibiotics. (Id. at ¶ 420.) As a result of this audit, NCCHC issued a corrective action to LCJ

   that it had to complete before receiving accreditation in this area. (Id. at ¶ 421.)

          Given the complex medical problems of a revolving jail population, the need for training

   and supervision here was so obvious, and the lack of it so likely to result in constitutional

   violation, that the failure to adequately train and supervise here rose to deliberate indifference.

   See Harris, 489 U.S. at 390. The Harris court recognized that this occurs when the applicable

   law and circumstances mandate that individuals have a sufficient understanding of the law

   through training and supervision. For example, a need to train officers on the use of deadly force

   is obvious because armed officers will undoubtedly arrest fleeing felons. 489 U.S. at 390 n.10.

   Similarly, an obvious need for training and supervision exists when a private medical-care

   contractor will provide medical care to a population of individuals incarcerated in a county jail.

          Thus, the Amended Complaint sufficiently pleads a Monell claim against Armor.

                                             CONCLUSION

          For the reasons stated herein, this Court should deny the Armor Defendants’ Motion.




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                                            Respectfully submitted,


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                                     CERTIFICATE OF SERVICE

          I hereby certify that on October 2, 2020, I electronically filed the foregoing RESPONSE

   TO ARMOR DEFENDANTS’ MOTION TO DISMISS (Doc. 47) AND REQUEST FOR

   ORAL ARGUMENT with the Clerk of the Court using the CM/ECF system, which will send

   notification of such filing to all counsel of record, including:

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